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                   Case 4:15-cv-00710-O Document 1-1 OF
                                          REGISTER    Filed 09/22/15
                                                         ACTIONS                                   Page 1 of 26 PageID 5
                                                               CASE NO. DC-15-09192

SPJST LODGE #154 & AMERICAN SOKOL ORGANIZATION vs. CENTURY                 §                              Case Type: CNTR CNSMR COM DEBT
SURETY COMPANY                                                             §                              Date Filed: 08/13/2015
                                                                           §                                Location: 191st District Court
                                                                           §
                                                                           §


                                                                  PARTY INFORMATION

                                                                                                                            Lead Attorneys
DEFENDANT     CENTURY SURETY COMPANY                                                                                        R BRENT COOPER
                                                                                                                             Retained
                                                                                                                            214-712-9500(W)


PLAINTIFF     SPJST LODGE #154 & AMERICAN SOKOL                                                                             SCOTT HUNZIKER
              ORGANIZATION                                                                                                   Retained
                                                                                                                            713-861-0015(W)


                                                            EVENTS & ORDERS OF THE COURT

           OTHER EVENTS AND HEARINGS
08/13/2015 NEW CASE FILED (OCA) - CIVIL
08/13/2015 ORIGINAL PETITION
             PLAINTIFF'S ORIGINAL PETITION
08/13/2015 ISSUE CITATION
08/20/2015 CITATION
             CMR #9214-8901-0661-5400-0064-4279-93
              CENTURY SURETY COMPANY                                Served                   08/24/2015
                                                                    Returned                 08/26/2015
09/14/2015 ORIGINAL ANSWER - GENERAL DENIAL
            DEFENDANTS


                                                                FINANCIAL INFORMATION



            PLAINTIFF SPJST LODGE #154 & AMERICAN SOKOL ORGANIZATION
            Total Financial Assessment                                                                                                                 381.00
            Total Payments and Credits                                                                                                                 381.00
            Balance Due as of 09/14/2015                                                                                                                 0.00

08/13/2015 Transaction Assessment                                                                                                                      381.00
08/13/2015 CREDIT CARD - TEXFILE                                                           SPJST LODGE #154 & AMERICAN SOKOL
                                  Receipt # 47477-2015-DCLK                                                                                          (381.00)
           (DC)                                                                            ORGANIZATION




                                                                                                                    Exhibit A - Page 000001
                                                                                                                            FILED
                                                                                                                DALLAS COUNTY
                                                                                                             8/13/2015 1:18:23 PM
1 CIT/ CERT
         CaseMAIL
              4:15-cv-00710-O Document 1-1 Filed 09/22/15 Page 2 of 26 PageID 6                                    FELICIA PITRE
                                                                                                                DISTRICT CLERK

                                                  DC-15-09192
                                    CAUSE NO. _____________________                                     Gay Smith


      SPJST LODGE #154 & AMERICAN                    §             IN THE DISTRICT COURT
      SOKOL ORGANIZATION                             §
           Plaintiffs                                §
                                                     §
      vs.                                            §             DALLAS COUNTY, TEXAS
                                                     §
      CENTURY SURETY COMPANY,                        §
                                                                   191ST-J
          Defendant.                                 §               _______ JUDICIAL DISTRICT


                                   PLAINTIFFS’ ORIGINAL PETITION

      TO THE HONORABLE JUDGE OF SAID COURT:

             COME NOW SPJST Lodge #54 and American Sokol Organization (hereinafter

      “Plaintiffs”), and complains of Century Surety Company (hereinafter “Century”). In support of

      their claims and causes of action, Plaintiffs would respectfully show the Court as follows:

                                            DISCOVERY LEVEL

             1.        Plaintiffs intend for discovery to be conducted at Level 2, pursuant to Rule 190 of

      the Texas Rules of Civil Procedure.

                                        JURISDICTION AND VENUE

             2.        This Court has jurisdiction to hear Plaintiffs’ claims under Texas common law and

      Texas statutory law. Inarguably, the amount in controversy exceeds the minimum jurisdictional

      limits of this Court. Venue is also proper, as all or a substantial part of the events giving rise to

      this suit occurred within the city of Fort Worth, in Dallas County, Texas.

                                                   PARTIES

             3.        Plaintiffs are corporation whose place of business is located in Fort Worth, Dallas

      County, Texas.

      _____________________________________________________________________________________________
      PLAINTIFFS’ ORIGINAL PETITION                                                         Page 1
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        4.        Century is a company engaged in the business of adjusting insurance claims. This

includes Plaintiffs’ insurance policy which is at issue in the present case. Century may be served

with Citation and a copy of this Petition, by serving it through its Specialty Insurance Managers

at its principal address, 8601 RR 222, Building 3, Suite 100, Austin, TX 78730, or wherever

they may be found.

                                           BACKGROUND

        5.        This matter revolves largely around a first party insurance dispute regarding the

extent of damages and amount of loss suffered to the Plaintiffs’ Property, which is located at

6500 Boat Club Road, Fort Wroth, TX 76179, (the “Property”). In addition to seeking economic

and penalty based damages from Century, Plaintiffs also seek compensation from Century for

damages caused by improperly investigating the extensive losses associated with this case.

        6.        Plaintiffs own the Property.

        7.        Prior to the occurrence in question, Plaintiffs purchased a commercial insurance

policy from Century to cover the Property at issue in this case for a loss due to storm-related

events. Plaintiffs’ Property suffered storm-related damage. Through their commercial policies,

01083815 and 01085816, Plaintiffs were objectively insured for the subject losses by Defendant.

        8.        On or around April 10, 2011 and August 12, 2014, the Property suffered

incredible damage due to storm related conditions.

        9.        In the aftermath, Plaintiffs relied on Century to help begin the rebuilding process.

By and through their commercial policy, Plaintiffs were objectively insured for the subject losses

in this matter.




_____________________________________________________________________________________________
PLAINTIFFS’ ORIGINAL PETITION                                                         Page 2
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       10. Pursuant to their obligation as policyholders, Plaintiffs made complete payment of all

commercial insurance premiums in a timely fashion. Moreover, their commercial policy covered

Plaintiffs during the time period in question.

       11.      Despite Plaintiffs’ efforts, Century continually failed and refused to pay Plaintiffs

in accordance with its promises under the Policy.

       12.    Moreover, Century has failed to make any reasonable attempt to settle Plaintiffs’

claims in a fair manner, although its liability to the Plaintiffs under the policy is without dispute.

       13.      In the months following each date of loss, Plaintiffs provided information to

Century, as well as provided opportunities for Century to inspect the Property.               However,

Century failed to conduct fair investigations into the damage to the Property. Moreover, Century

failed to properly inspect the Property and its related damages, failed to properly request

information, failed to properly investigate the claims, failed to timely evaluate the claims, failed

to timely estimate the claims, and failed to timely and properly report and make

recommendations in regard to Plaintiffs’ claims.

       14.      Despite Century’s improprieties, Plaintiffs continued to provide information

regarding the losses and the related claims to Century.           Further, Plaintiffs made inquiries

regarding the status of the losses, and payments.        Regardless, Century failed and refused to

respond to the inquiries, and failed to properly adjust the claims and the losses. As a result, to

this date, Plaintiffs have not received proper payment for their claims, even though notification

was provided.

       15.      Century has failed to explain the reasons for failing to offer adequate

compensation for the damage to the Property. Century has furthermore failed to offer Plaintiffs

adequate compensation without any explanation why full payment was not being made. Century
_____________________________________________________________________________________________
PLAINTIFFS’ ORIGINAL PETITION                                                         Page 3
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did not communicate that any future settlements or payments would be forthcoming to pay the

entire losses covered under the policy.

        16.    Century has further failed to affirm or deny coverage within a reasonable time.

Plaintiffs also did not receive timely indication of acceptance or rejection regarding the full and

entire claims in writing from Century in a timely manner.

        17.    Century has, to date, refused to fully compensate Plaintiffs under the terms of the

policy for which Plaintiffs paid, even though it was Century that failed to conduct a reasonable

investigation. Ultimately, Century performed a result-oriented investigation of Plaintiffs’ claims

that resulted in an unfair, biased and inequitable evaluation of Plaintiffs’ losses.

        18.    Century has failed to meet its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiffs’ claims, beginning an investigation of Plaintiffs’

claims, and requesting all information reasonably necessary to investigate Plaintiffs’ claims

within the time period mandated by statute.

        19.    As a result of the above issues, Plaintiffs did not receive the coverage for which

they had originally contracted with Century.        Unfortunately, Plaintiffs have, therefore, been

forced to file this suit in order to recover damages arising from the above conduct, as well as

overall from the unfair refusal to pay insurance benefits.

        20.   In addition, Century has failed to place adequate and proper coverage for Plaintiffs

causing Plaintiffs to suffer further damages. As indicated below, Plaintiffs seek relief under the

common law, the Deceptive Trade Practices-Consumer Protection Act and the Texas Insurance

Code.




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PLAINTIFFS’ ORIGINAL PETITION                                                         Page 4
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                                  CONDITIONS PRECEDENT

       21.     All conditions precedent to recovery by Plaintiffs have been met or has occurred.

                                           AGENCY

       22.     All acts by Century were undertaken and completed by its officers, agents,

servants, employees, and/or representatives. Such were either done with the full authorization or

ratification of Century and/or were completed in its normal and routine course and scope of

employment with Century.

                              CLAIMS AGAINST DEFENDANT

       23.     Plaintiffs hereby incorporate by reference all facts and circumstances set forth

under the foregoing paragraphs.

                                            A.
                                        NEGLIGENCE

       24.     Century had and owed a legal duty to Plaintiffs to properly adjust the structural

and property damage and other insurance losses associated with the Property. Century breached

this duty in a number of ways, including but not limited to the following:

               a.     Century was to exercise due care in adjusting and paying policy proceeds
                      regarding Plaintiffs’ Property loss;

               b.     Century had a duty to competently and completely handle and pay all
                      damages associated with Plaintiffs’ Property; and/or

               c.     Century failed to properly complete all adjusting activities associated with
                      Plaintiffs.

       25.     Century’s acts, omissions, and/or breaches did great damage to Plaintiffs, and

were a proximate cause of Plaintiffs’ damages.




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                                            B.
                                    BREACH OF CONTRACT

        26.     Plaintiffs hereby incorporate by reference all facts and circumstances set forth

under the foregoing paragraphs.

        27.    According to the policy that Plaintiffs purchased, Century had the absolute duty to

investigate Plaintiffs’ damages, and to pay Plaintiffs’ policy benefits for the claims made due to

the extensive storm-related damages.

        28.    As a result of the storm-related event, Plaintiffs suffered extreme external and

internal damages.

        29.     Despite objective evidence of such damages, Century has breached its contractual

obligations under the subject insurance policy by failing to pay Plaintiffs benefits relating to the

cost to properly repair Plaintiffs’ Property, as well as for related losses. As a result of this breach,

Plaintiffs have suffered actual and consequential damages.

                                        C.
                       VIOLATIONS OF TEXAS DECEPTIVE TRADE
                         PRACTICES ACT AND TIE-IN-STATUTES

        30.     Plaintiffs hereby incorporate by reference all facts and circumstances set forth

under the foregoing paragraphs.

        31.     Century’s collective actions constitute violations of the DTPA, including but not

limited to, Sections 17.46(b) (12), (14), (20), (24), and Section 17.50(a) (4) of the Texas Business

& Commerce Code.         Century collectively engaged in false, misleading, or deceptive acts or

practices that included, but were not limited to:

                a.      Representing that an agreement confers or involves rights, remedies, or
                        obligations which it does not have or involve, or which are prohibited by
                        law;

_____________________________________________________________________________________________
PLAINTIFFS’ ORIGINAL PETITION                                                         Page 6
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               b.     Misrepresenting the authority of a salesman, representative, or agent to
                      negotiate the final terms of a consumer transaction;

               c.     Failing to disclose information concerning goods or services which were
                      known at the time of the transaction, and the failure to disclose such
                      information was intended to induce the consumer into a transaction into
                      which the consumer would not have entered had such information been
                      disclosed;

               d.     Using or employing an act or practice in violation of the Texas Insurance
                      Code;

               e.     Unreasonably delaying the investigation, adjustment and resolution of
                      Plaintiffs’ claim;

               f.     Failure to properly investigate Plaintiffs’ claim; and/or

               g.     Hiring and relying upon a biased engineer and/or adjuster to obtain a
                      favorable, result-oriented report to assist Century in low-balling and/or
                      denying Plaintiffs’ damage claim.

       32.    As described in this Original Petition, Century represented to Plaintiffs that their

insurance policy and Century’s adjusting and investigative services had characteristics or

benefits that it actually did not have, which gives Plaintiffs the right to recover under Section

17.46 (b)(5) of the DTPA.

       33.    As described in this Original Petition, Century represented to Plaintiffs that its

insurance policy and Century’s adjusting and investigative services were of a particular standard,

quality, or grade when they were of another, which stands in violation of Section 17.46 (b)(7) of

the DTPA.

       34.     By representing that Century would pay the entire amount needed by Plaintiffs to

repair the damages caused by the storm-related event and then not doing so, Century has violated

Sections 17.46 (b)(5), (7) and (12) of the DTPA.



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       35.     Century has breached an express warranty that the damage caused by the storm-

related event would be covered under the subject insurance policies.            This breach entitles

Plaintiffs to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.

       36.     Century’s actions, as described herein, are unconscionable in that it took

advantage of Plaintiffs’ lack of knowledge, ability, and experience to a grossly unfair degree.

Century’s unconscionable conduct gives Plaintiffs the right to relief under Section 17.50(a)(3) of

the DTPA.

       37.     Century’s conduct, acts, omissions, and failures, as described in this Original

Petition, are unfair practices in the business of insurance in violation of Section 17.50 (a) (4) of

the DTPA.

       38.     Plaintiffs are consumers, as defined under the DTPA, and relied upon these false,

misleading, or deceptive acts or practices made by Century to their detriment. As a direct and

proximate result of Century’s collective acts and conduct, Plaintiffs have been damaged in an

amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiffs now

sue. All of the above-described acts, omissions, and failures of Century are a producing cause of

Plaintiffs’ damages that are described in this Original Petition.

       39.     Because Century’s collective actions and conduct were committed knowingly and

intentionally, Plaintiffs are entitled to recover, in addition to all damages described herein, mental

anguish damages and additional penalty damages, in an amount not to exceed three times such

actual damages, for Century having knowingly committed its conduct. Additionally, Plaintiffs are

ultimately entitled to recover damages in an amount not to exceed three times the amount of

mental anguish and actual damages due to Century having intentionally committed such conduct.



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       40.     As a result of Century’s unconscionable, misleading, and deceptive actions and

conduct, Plaintiffs have been forced to retain the legal services of the undersigned attorneys to

protect and pursue these claims on their behalf. Accordingly, Plaintiffs also seek to recover their

costs and reasonable and necessary attorneys’ fees as permitted under Section 17.50(d) of the

Texas Business & Commerce Code, as well as any other such damages to which Plaintiffs may

show themselves to be justly entitled at law and in equity.

                                        D.
                       VIOLATIONS OF TEXAS INSURANCE CODE

       41.     Plaintiffs hereby incorporate by reference all facts and circumstances set forth

within the foregoing paragraphs.

       42.     Century’s actions constitute violations of the Texas Insurance Code, including but

not limited to, Article 21.21 Sections 4(10) (a) (ii), (iv), and (viii) (codified as Section 541.060),

Article 21.21 Section 11(e) (codified as Section 541.061), and Article 21.55 Section 3(f)

(codified as Section 542.058). Specifically, Century engaged in certain unfair or deceptive acts

or practices that include, but are not limited to the following:

               a.      Failing to attempt, in good faith, to effectuate a prompt, fair, and equitable
                       settlement of a claim with respect to which the insurer’s liability has
                       become reasonably clear;

               b.      Failing to provide promptly to a policyholder a reasonable explanation of
                       the basis in the policy, in relation to the facts or applicable law, for the
                       insurer’s denial of a claim or for the offer of a compromise settlement of a
                       claim;

               c.      Refusing to pay a claim without conducting a reasonable investigation
                       with respect to the claim;

               d.      Forcing Plaintiffs to file suit to recover amounts due under the policy by
                       refusing to pay all benefits due;


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               e.     Misrepresenting an insurance policy by failing to disclose any matter
                      required by law to be disclosed, including a failure to make such
                      disclosure in accordance with another provision of this code; and/or

               f.     Failing to pay a valid claim after receiving all reasonably requested and
                      required items from the claimant.

        43.    Plaintiffs are the insured or beneficiaries of claims which was apparently valid as

a result of the unauthorized acts of Century, and Plaintiffs relied upon these unfair or deceptive

acts or practices by Century to their detriment. Accordingly, Century became the insurer of

Plaintiffs.

        44.   As a direct and proximate result of Century’s acts and conduct, Plaintiffs have

been damaged in an amount in excess of the minimum jurisdictional limits of this Court, for

which they now sue.

        45.    Since a violation of the Texas Insurance Code is a direct violation of the DTPA,

and because Century’s actions and conduct were committed knowingly and intentionally,

Plaintiffs are entitled to recover, in addition to all damages described herein, mental anguish

damages and additional damages in an amount not to exceed three times the amount of actual

damages, for Century having knowingly committed such conduct. Additionally, Plaintiffs are

entitled to recover damages in an amount not to exceed three times the amount of mental and

actual damages for Century having intentionally committed such conduct.

        46.   As a result of Century’s unfair and deceptive actions and conduct, Plaintiffs have

been forced to retain the legal services of the undersigned attorneys to protect and pursue these

claims on their behalf. Accordingly, Plaintiffs also seeks to recover their costs and reasonable

and necessary attorneys’ fees as permitted under Section 17.50(d) of the Texas Business &

Commerce Code or Article 21.21 Section 16(b) (1) (codified as Section 541.152) of the Texas

_____________________________________________________________________________________________
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Insurance Code and any other such damages to which Plaintiffs may show themselves justly

entitled by law and in equity.

                                         E.
                          BREACH OF THE COMMON-LAW DUTY
                           OF GOOD FAITH AND FAIR DEALING

       47.     Plaintiffs hereby incorporate by reference all facts and circumstances in the

foregoing paragraphs.

       48.     By its acts, omissions, failures and conduct, Century has breached its common

law duty of good faith and fair dealing by denying Plaintiffs’ claims or inadequately adjusting

and making an offer on Plaintiffs’ claims without any reasonable basis, and by failing to conduct

a reasonable investigation to determine whether there was a reasonable basis for this denial.

       49.     Century has also breached this duty by unreasonably delaying payment of

Plaintiffs’ entire claims and by failing to settle Plaintiffs’ claims, as Century knew or should have

known that it was reasonably clear that Plaintiffs’ storm-related claims were covered. These acts,

omissions, failures, and conduct by Century is a proximate cause of Plaintiffs’ damages.

                                             F.
                                 BREACH OF FIDUCIARY DUTY

       50.     Plaintiffs hereby incorporate by reference all facts and circumstances in the

foregoing paragraphs.

       51.     Century had a fiduciary relationship, or in the alternative, a relationship of trust

and confidence with Plaintiffs. As a result, Century owed a duty of good faith and fair dealing to

Plaintiffs. Century breached that fiduciary in that:

               a.       The transaction was not fair and equitable to Plaintiffs;

               b.       Century did not make reasonable use of the confidence that Plaintiffs
                        placed upon it;
_____________________________________________________________________________________________
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                c.      Century did not act in the utmost good faith and did not exercise the most
                        scrupulous honesty toward Plaintiffs;

                d.      Century did not place the interests of Plaintiffs before its own, and
                        Century used the advantage of its position to gain a benefit for itself, at
                        Plaintiffs’ expense;

                e.      Century placed itself in a position where its self-interest might conflict
                        with its obligations as a fiduciary; and/or

                f.      Century did not fully and fairly disclose all important information to
                        Plaintiffs concerning the sale of the policy.

          52.   Century is liable for Plaintiffs’ damages for breach of fiduciary duty, as such

damages were objectively caused by Century’s conduct.

                                          G.
                              UNFAIR INSURANCE PRACTICES

          53.   Plaintiffs hereby incorporate by reference all facts and circumstances in the

foregoing paragraphs.

          54.   Plaintiffs have satisfied all conditions precedent to bringing these causes of

action.     By its acts, omissions, failures, and conduct, Century has engaged in unfair and

deceptive acts or practices in the business of insurance in violation of Chapter 541 of the Texas

Insurance Code.

          55.   Such violations include, without limitation, all the conduct described in this

Original Petition, plus Century’s failure to properly investigate Plaintiffs’ claims. Plaintiffs also

include Century’s unreasonable delays in the investigation, adjustment, and resolution of

Plaintiffs’ claims and Century’s failure to pay for the proper repair of Plaintiffs’ Property, as to

which Century’s liability had become reasonably clear.



_____________________________________________________________________________________________
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       56.     Additional violations include Century’s hiring of and reliance upon biased

adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling

and denying Plaintiffs’ storm-related damage and related claims.          Plaintiffs further include

Century’s failure to look for coverage and give Plaintiffs the benefit of the doubt, as well as

Century’s misrepresentations of coverage under the subject insurance policy. Specifically,

Century is also guilty of the following unfair insurance practices:

               a.      Engaging in false, misleading, and deceptive acts or practices in the
                       business of insurance in this case;

               b.      Engaging in unfair claims settlement practices;

               c.      Misrepresenting to Plaintiffs pertinent facts or policy provisions relating to
                       the coverage at issue;

               d.      Not attempting in good faith to effectuate a prompt, fair, and equitable
                       settlement of Plaintiffs’ claims as to which Century’s liability had become
                       reasonably clear;

               e.      Failing to affirm or deny coverage of Plaintiffs’ claims within a reasonable
                       time and failing within a reasonable time to submit a reservation of rights
                       letter to Plaintiffs;

               f.      Refusing to pay Plaintiffs’ claims without conducting a reasonable
                       investigation with respect to the claims; and/or

               g.      Failing to provide promptly to a policyholder a reasonable explanation of
                       the basis in the insurance policy, in relation to the facts or applicable law,
                       for the denial of a claim or for the offer of a compromise settlement.

       57.     Century has also breached the Texas Insurance Code when it breached its duty of

good faith and fair dealing. Century’s conduct as described herein has resulted in Plaintiffs’

damages that are described in this Original Petition.




_____________________________________________________________________________________________
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                                               H.
                                       MISREPRESENTATION

        58.     Plaintiffs hereby incorporate by reference all facts and circumstances in the

foregoing paragraphs.

        59.     Century is liable to Plaintiffs under the theories of intentional misrepresentation,

or in the alternative, negligent misrepresentation. Essentially, Century did not inform Plaintiffs of

certain exclusions in the policy.      Misrepresentations were made with the intention that they

should be relied upon and acted upon by Plaintiffs who relied on the misrepresentations to their

detriment. As a result, Plaintiffs have suffered damages, including but not limited to loss of the

Property, loss of use of the Property, mental anguish and attorney’s fees. Century is liable for

these actual consequential and penalty-based damages.

                                     I.
              COMMON-LAW FRAUD BY NEGLIGENT MISREPRESENTATION

        60.     Plaintiffs hereby incorporate by reference all facts and circumstances in the

foregoing paragraphs.

        61.     Plaintiffs would show that Century perpetrated fraud by misrepresentation (either

intentionally or negligently) by falsely representing a fact of materiality to Plaintiffs, who relied

upon such representations that ultimately resulted in their injuries and damages. Alternatively,

Century fraudulently concealed material facts from Plaintiffs, the result of which caused damage

to Plaintiffs as a result of the storm-related damages.

        62.     Specifically, and as a proximate cause and result of this fraudulent concealment,

fraud and negligent misrepresentation, all of which was perpetrated without the knowledge or

consent of Plaintiffs, Plaintiffs have sustained damages far in excess of the minimum

jurisdictional limits of this Court.
_____________________________________________________________________________________________
PLAINTIFFS’ ORIGINAL PETITION                                                        Page 14
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         63.     By reason of Plaintiffs’ reliance on Century fraudulent representations, negligent

misrepresentations and/or fraudulent concealment of material facts as described in this

complaint, Plaintiffs have suffered actual damages for which they now sue.

         64.     Plaintiffs further allege that because Century knew that the misrepresentations

made to Plaintiffs were false at the time they were made, such misrepresentations are fraudulent,

negligent or grossly negligent on the part of Century, and constitute conduct for which the law

allows the imposition of exemplary damages.

         65.     In this regard, Plaintiffs will show that they have incurred significant litigation

expenses, including attorneys’ fees, in the investigation and prosecution of this action.

         66.     Accordingly, Plaintiffs requests that penalty damages be awarded against Century

in a sum in excess of the minimum jurisdictional limits of this Court.

                                   WAIVER AND ESTOPPEL

         67.     Plaintiffs hereby incorporate by reference all facts and circumstances set forth

under the foregoing paragraphs.

         68.     Century has waived and is estopped from asserting any defenses, conditions,

exclusions, or exceptions to coverage not contained in any Reservation of Rights or denial letters

to Plaintiffs.

                                            DAMAGES

         69.     Century’s acts have been the producing and/or proximate cause of damage to

Plaintiffs, and Plaintiffs seek an amount in excess of the minimum jurisdictional limits of this

Court.




_____________________________________________________________________________________________
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        70.      More specifically, Plaintiffs seek monetary relief of no more than $74,500),

including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney

fees.

                             ADDITIONAL DAMAGES & PENALTIES

        71.    Century’s conduct was committed knowingly and intentionally.           Accordingly,

Century is liable for additional damages under the DTPA, section 17.50(b) (1), as well as all

operative provisions of the Texas Insurance Code. Plaintiffs are, thus, clearly entitled to the 18%

damages allowed by the Texas Insurance Code.

                                       ATTORNEY FEES

        72.    In addition, Plaintiffs are entitled to all reasonable and necessary attorneys’ fees

pursuant to the Texas Insurance Code, DTPA, and sections 38.001-.005 of the Civil Practice and

Remedies Code.

                                        JURY DEMAND

        73.    Plaintiffs demand a jury trial and tenders the appropriate fee with this Original

Petition.

                                REQUEST FOR DISCLOSURE

        74.    Pursuant to the Texas Rules of Civil Procedure, Plaintiffs request that Century

disclose all information and/or material as required by Rule 194.2, paragraphs (a) through (l),

and to do so within 50 days of this request.

                               REQUEST FOR PRODUCTION

        75.    Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Requests for Production.



_____________________________________________________________________________________________
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       1.     Please produce Century’s complete claims files from the home, regional, local
            offices, and third party adjusters/adjusting firms regarding the claims that are the
            subject of this matter, including copies of the file jackets, “field” files and notes, and
            drafts of documents contained in the file for the premises relating to or arising out of
            Plaintiffs’ underlying claim(s).

       2.     Please produce the underwriting files referring or relating in any way to the policy
            at issue in this action, including the file folders in which the underwriting documents
            are kept and drafts of all documents in the file.

       3.     Please produce certified copy of the insurance policy pertaining to the claims
            involved in this suit.

       4.     Please produce the electronic diary, including the electronic and paper notes made
            by Century’s claims personnel, contractors, and third party adjusters/adjusting firms
            relating to the Plaintiffs’ claims.

       5.     Please produce all emails and other forms of communication by and between all
            parties in this matter relating to the underlying events, claims or the Property, which
            is the subject of this suit.

       6.    Please produce the adjusting reports, estimates and appraisals prepared concerning
            Plaintiffs’ underlying claim.

       7.    Please produce the field notes, measurements and file maintained by the adjuster(s)
            and engineers who physically inspected the subject Property.

       8.     Please produce the emails, instant messages and internal correspondence pertaining
            to Plaintiffs’ underlying claim(s).

       9.    Please produce the videotapes, photographs and recordings of Plaintiffs or
            Plaintiffs’ home, regardless of whether Century intend to offer these items into
            evidence at trial.




_____________________________________________________________________________________________
PLAINTIFFS’ ORIGINAL PETITION                                                        Page 17
                                                                                   Exhibit A - Page 000018
  Case 4:15-cv-00710-O Document 1-1 Filed 09/22/15                   Page 19 of 26 PageID 23


                                      INTERROGATORIES

       76.      Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Interrogatories.

       1.     Please identify any person Century expect to call to testify at the time of trial.

       2.      Please identify the persons involved in the investigation and handling of Plaintiffs’
             claims for insurance benefits arising from damage relating to the underlying events,
             claims or the Property, which is the subject of this suit, and include a brief
             description of the involvement of each person identified, their employer, and the
             date(s) of such involvement.

       3.      If Century or Century’s representatives performed any investigative steps in
             addition to what is reflected in the claims file, please generally describe those
             investigative steps conducted by Century or any of Century’s representatives with
             respect to the facts surrounding the circumstances of the subject loss. Identify the
             persons involved in each step.

       4.     Please identify by date, author, and result the estimates, appraisals, engineering,
             mold and other reports generated as a result of Century’s investigation.

       5.     Please state the following concerning notice of claims and timing of payment:

               a.      The date and manner in which Century received notice of the claims;
                b.      The date and manner in which Century acknowledged receipt of the
                claims;
                c.      The date and manner in which Century commenced investigation of
                the claims;
                d.      The date and manner in which Century requested from the claimant all
                items, statements, and forms that Century reasonably believed, at the time,
                would be required from the claimant; and
                e.      The date and manner in which Century notified the claimant in writing
                of the acceptance or rejection of the claim.

       6.     Please identify by date, amount and reason, the insurance proceed payments made
             by Defendant, or on Defendant’s behalf, to the Plaintiffs.

       7.      Has Plaintiffs’ claims for insurance benefits been rejected or denied? If so, state the
             reasons for rejecting/denying the claim.

       8.     When was the date Century anticipated litigation?

_____________________________________________________________________________________________
PLAINTIFFS’ ORIGINAL PETITION                                                        Page 18
                                                                                   Exhibit A - Page 000019
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       9.      Have any documents (including those maintained electronically) relating to the
             investigation or handling of Plaintiffs’ claims for insurance benefits been destroyed
             or disposed of? If so, please identify what, when and why the document was
             destroyed, and describe Century’s document retention policy.

       10.    Does Century contend that the insured premises was damaged by storm-related
             events and/or any excluded peril? If so, state the general factual basis for this
             contention.

       11.    Does Century contend that any act or omission by the Plaintiffs voided, nullified,
             waived or breached the insurance policy in any way? If so, state the general factual
             basis for this contention.

       12.    Does Century contend that the Plaintiffs failed to satisfy any condition precedent or
             covenant of the policy in any way? If so, state the general factual basis for this
             contention.

       13.    How is the performance of the adjuster(s) involved in handling Plaintiffs’ claims
             evaluated? State the following:

                a.     what performance measures are used; and
                b.     describe Century’s bonus or incentive plan for adjusters.

                                         CONCLUSION

       77.      Plaintiffs pray that judgment be entered against [Defendant], and that Plaintiffs be

awarded all of their actual damages, consequential damages, prejudgment interest, additional

statutory damages, post judgment interest, reasonable and necessary attorney fees, court costs

and for all such other relief, general or specific, in law or in equity, whether pled or un-pled

within this Original Petition.




_____________________________________________________________________________________________
PLAINTIFFS’ ORIGINAL PETITION                                                        Page 19
                                                                                   Exhibit A - Page 000020
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                                             PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray they be awarded all such

relief to which they are due as a result of the acts of [Defendant], and for all such other relief to

which Plaintiffs may be justly entitled.

                                              Respectfully submitted,

                                              THE VOSS LAW FIRM, P.C.
                                              /s/ Scott G. Hunziker
                                              ___________________________________
                                              Bill L. Voss
                                              State Bar No. 24047043
                                              Scott G. Hunziker
                                              State Bar No. 24032446
                                              26619 Interstate 45
                                              The Woodlands, Texas 77380
                                              Telephone: (713) 861-0015
                                              Facsimile: (713) 861-0021
                                              zach@vosslawfirm.com


                                              ATTORNEYS FOR PLAINTIFFS




_____________________________________________________________________________________________
PLAINTIFFS’ ORIGINAL PETITION                                                        Page 20
                                                                                  Exhibit A - Page 000021
                                                              CIVIL CASE INFORMATION SHEET
            Case
        CAUSE NUMBER (FOR CLERK USE ONLY):DC-15-09192
                  4:15-cv-00710-O          Document 1-1 Filed 09/22/15
                                          _______________________________         Page
                                                                          COURT (FOR     22
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                                                                                           USE  26): ______________________
                                                                                                      PageID 26
        STYLED: SPJST LODGE #154 & AMERICAN SOKOL ORGANIZATION V. CENTURY SURETY
                                         COMPANY
                                   (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)

A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
the time of filing.
1. Contact information for person completing case information sheet:               Names of parties in case:                                       Person or entity completing sheet is:
                                                                                                                                               Attorney for Plaintiff/Petitioner
Name:                                   Email:                                     Plaintiff(s)/Petitioner(s):                                 Pro Se Plaintiff/Petitioner
                                                                                                                                               Title IV-D Agency
 Scott G. Hunziker                                                                                                                             Other: _________________________
                                        scott@vosslawfirm.com SPJST Lodge #154 &
Address:                                                                           American Sokol Organization
                                        Telephone:
26619 Interstate 45                                                                Defendant(s)/Respondent(s):
                                                                                                                                               Additional Parties in Child Support Case:

City/State/Zip:                         (713) 861-0015                                                                                         Custodial Parent:
                                                                                   Century Surety Company                                      _________________________________
The Woodlands, TX                       Fax:
77380                                                                              [Attach additional page as necessary to list all parties]
                                                                                                                                               Non-Custodial Parent:
                                                                                                                                               _________________________________
Signature:                              (713) 861-0021
                                                                                                                                               Presumed Father:
                                        State Bar No:                                                                                          _________________________________

_____________________________ 24047043
2. Indicate case type, or identify the most important issue in the case (select only 1):
                                                 Civil                                                                                              Family Law
                                                                                                                                                              Post-judgment Actions
            Contract                     Injury or Damage                          Real Property                       Marriage Relationship                      (non-Title IV-D)
Debt/Contract                     Assault/Battery                         Eminent Domain/                            Annulment                            Enforcement
  XXX Consumer/DTPA               Construction                               Condemnation                            Declare Marriage Void                Modification—Custody
   Debt/Contract                  Defamation                              Partition                                  Divorce                              Modification—Other
   Fraud/Misrepresentation        Malpractice                             Quiet Title                                  With Children                                 Title IV-D
  Other Debt/Contract:              Accounting                            Trespass to Try Title                        No Children                        Enforcement/Modification
   Breach of Contract               Legal                                 Other Property:                                                                 Paternity
Foreclosure                         Medical                                   ____________________                                                        Reciprocals (UIFSA)
   Home Equity—Expedited            Other Professional                                                                                                    Support Order
   Other Foreclosure                   Liability:
Franchise                              _______________                     Related to Criminal Matters                    Other Family Law                   Parent-Child Relationship
Insurance                         Motor Vehicle Accident                  Expunction                                  Enforce Foreign                      Adoption/Adoption with
Landlord/Tenant                   Premises                                Judgment Nisi                                  Judgment                            Termination
Non-Competition                   Product Liability                       Non-Disclosure                              Habeas Corpus                        Child Protection
Partnership                         Asbestos/Silica                       Seizure/Forfeiture                          Name Change                          Child Support
Other Contract:                     Other Product Liability               Writ of Habeas Corpus—                      Protective Order                     Custody or Visitation
                                       List Product:                         Pre-indictment                           Removal of Disabilities              Gestational Parenting
_____________________                  _________________                  Other: _______________                         of Minority                       Grandparent Access
                                   Other Injury or Damage:                                                            Other:                               Parentage/Paternity
                                                                                                                         __________________                Termination of Parental
                                                                                                                                                              Rights
          Employment                                             Other Civil                                                                               Other Parent-Child:
Discrimination                     Administrative Appeal               Lawyer Discipline                                                                      _____________________
Retaliation                        Antitrust/Unfair                    Perpetuate Testimony
Termination                           Competition                      Securities/Stock
Workers’ Compensation              Code Violations                     Tortious Interference
Other Employment:                  Foreign Judgment                    Other:
   ______________________          Intellectual Property
               Tax                                                                           Probate & Mental Health
 Tax Appraisal                     Probate/Wills/Intestate Administration                                    Guardianship—Adult
 Tax Delinquency                     Dependent Administration                                                Guardianship—Minor
 Other Tax                           Independent Administration                                              Mental Health
                                     Other Estate Proceedings                                                Other: ____________________

3. Indicate procedure or remedy, if applicable (may select more than 1):
 Appeal from Municipal or Justice Court               Declaratory Judgment                                                        Prejudgment Remedy
 Arbitration-related                                  Garnishment                                                                 Protective Order
 Attachment                                           Interpleader                                                                Receiver
 Bill of Review                                       License                                                                     Sequestration
 Certiorari                                           Mandamus                                                                    Temporary Restraining Order/Injunction
 Class Action                                         Post-judgment                                                               Turnover
4. Indicate damages sought (do not select if it is a family law case):
XXX Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees Less than $100,000 and
non-monetary relief
Over $100, 000 but not more than $200,000
Over $200,000 but not more than $1,000,000
Over $1,000,000.                                                                                                  Exhibit A - Page 000022
              Case 4:15-cv-00710-O Document 1-1 Filed 09/22/15                                                                                                                                                 Page 23 of 26 PageID 27




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Exhibit A - Page 000024
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     Case 4:15-cv-00710-O Document 1-1 Filed 09/22/15              Page 25 of 26 PageID           29       FELICIA PITRE
                                                                                                         DISTRICT CLERK



                                    CAUSE NO. DC-15-09192

SPJST LODGE #154 & AMERICAN                      §            IN THE DISTRICT COURT
SOKOL ORGANIZATION,                              §
                                                 §
                                   Plaintiffs,   §
                                                 §
v.                                               §            191ST JUDICIAL DISTRICT
                                                 §
CENTURY SURETY COMPANY,                          §
                                                 §
                                  Defendant.     §           DALLAS COUNTY, T E X A S


             DEFENDANT CENTURY SURETY COMPANY’S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, CENTURY SURETY COMPANY, (“Century Surety”), Defendant in the

above-entitled and numbered cause, and file this Original Answer to Plaintiffs’ Original Petition,

and for such would respectfully show the court as follows:

                                            I.
                                      GENERAL DENIAL

         Defendant generally denies each and every allegation, both singular and plural, averred in

Plaintiffs’ Original Petition and every amendment or supplement thereto, and demands strict

proof thereof by a preponderance of evidence pursuant to Rule 92 of the Texas Rules of Civil

Procedure.

         WHEREFORE,        PREMISES       CONSIDERED,        Defendant    CENTURY          SURETY

COMPANY prays that upon final hearing hereon, Plaintiffs take nothing, and that Defendant be

discharged hence without day, to recover all costs expended on its behalf, and for such other and

further relief, both general and special, both at law and in equity, to which Defendant may show

itself justly entitled.




DEFENDANT CENTURY SURETY COMPANY’S ORIGINAL ANSWER                                         Page 1 of 2
D/932998v1
                                                                                 Exhibit A - Page 000025
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                                            Respectfully submitted,

                                            COOPER & SCULLY, P.C.


                                            By      /s/ R. Brent Cooper
                                                    R. BRENT COOPER
                                                    State Bar No. 04783250
                                                    Brent.Cooper@cooperscully.com
                                                    ROBERT J. WITMEYER
                                                    State Bar No. 24091174
                                                    Rob.Witmeyer@cooperscully.com
                                            900 Jackson Street, Suite 100
                                            Dallas, Texas 75202
                                            Telephone: (214) 712-9500
                                            Telecopy: (214) 712-9540
                                            ATTORNEYS FOR DEFENDANT
                                            CENTURY SURETY COMPANY


                                CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the above and foregoing document was served

electronically through the electronic-filing manager (EFM) and/or via facsimile pursuant to the

Texas Rules of Civil Procedure on the 14th day of September 2015 to:

Bill L. Voss
Scott G. Hunziker
THE VOSS LAW FIRM, P.C.
26619 Interstate 45
The Woodlands, TX 77380
VIA FACSIMILE 713-861-0021



                                            /s/ R. Brent Cooper
                                             R. BRENT COOPER




DEFENDANT CENTURY SURETY COMPANY’S ORIGINAL ANSWER                                     Page 2 of 2
D/932998v1
                                                                             Exhibit A - Page 000026
